               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF VIRGINIA
                      BIG STONE GAP DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                                               )     Case No. 2:15CR00009
                                               )
v.                                             )            OPINION
                                               )
MARIO ANTWAINE HOLIFIELD,                      )     By: James P. Jones
                                               )     United States District Judge
                 Defendant.                    )

      Jennifer R. Bockhorst, Assistant United States Attorney, Abingdon, Virginia,
for United States; Mario Antwaine Holifield, Defendant Pro Se.

      The defendant, Mario Antwaine Holifield, proceeding pro se, has filed a

motion seeking relief under 28 U.S.C. § 2255. The United States has filed a

motion to dismiss, to which the movant has responded. For the reasons stated, I

will grant the motion to dismiss and dismiss the § 2255 motion.

      After pleading guilty pursuant to a written plea agreement, the defendant

was sentenced by this court on January 5, 2016, to a total term of 188 months

imprisonment, consisting of 60 months on Count One of the Indictment, 188

months on Count Two, 60 months on Count Eight, and 188 months on Count Nine,

all to run concurrently.    Count One charged the defendant with possessing

marijuana in prison, in violation of 18 U.S.C. § 1791(a)(2) and (d)(1)(B); Count

Two charged him with possessing methamphetamine in prison, in violation of 18

U.S.C. § 1792(a)(2) and (d)(1)(c); Count Eight charged him with possessing with


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intent to distribute and distributing marijuana, in violation of 21 U.S.C. § 841(a)(1)

and (b)(1)(D); and Count Nine charged him with possessing with the intent to

distribute and distributing methamphetamine, in violation of 21 U.S.C. § 841(a)(1)

and (b)(1)(C).    At the defendant’s change of plea hearing, the government

proffered a summary of the evidence in support of these charges, which the

defendant stated that he did not dispute. The summary was as follows:

      [O]n September 27, 2014 at USP Lee, a federal prison located in Lee
      County, Virginia, which is in the Western District of Virginia, the
      defendant, being a federal inmate, entered the visitation room and
      kissed co-defendant Brittney Hooks, receiving from her and
      swallowing seven balloons containing 11 grams of methamphetamine
      and two grams of marijuana which were prohibited objects within the
      prison. He received the methamphetamine and marijuana with the
      intent to distribute it within the prison.

Plea Hr’g Tr. 12, Sept. 22, 2015, ECF No. 88.

      In his § 2255 motion, the defendant asserts two grounds. First, he contends

that his counsel was ineffective in negotiating his plea agreement by (1) advising

him to agree that his two prior Alabama manslaughter convictions were crimes of

violence rendering him eligible for a career offender enhancement under the

applicable sentencing guideline; (2) failing to advise him that he could be

sentenced to longer than the agreed-upon recommendation of 102 months; and (3)

failing to advise him that he was waiving his right to appeal. Second, Holifield

asserts that his counsel was ineffective at sentencing because she (1) failed to

explain that he was forced to bring drugs into prison by a gang, and (2) failed to
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explain that one of his manslaughter convictions was for a killing committed in the

heat of passion and the other was allegedly an accident.

      Holifield directly appealed his sentence, arguing that after Johnson v. United

States, 135 S. Ct. 2551 (2015), the career offender guidelines’ definition of crime

of violence was unconstitutionally vague. The court of appeals dismissed his

appeal, noting that (1) the Alabama manslaughter statute corresponded to the

generic definition of manslaughter set forth in the Sentencing Guidelines; (2) the

Supreme Court held in Beckles v. United States, 137 S. Ct. 886 (2017), that the

Sentencing Guidelines could not be unconstitutionally vague because they are

discretionary; and (3) Holifield had knowingly and voluntarily waived his right to

appeal. United States v. Holifield, 683 F. App’x 256 (4th Cir. 2017) (unpublished).

      On June 2, 2017, shortly after the dismissal of the appeal, Holifield’s

counsel in the prosecution and on appeal, an Assistant Federal Public Defender for

this district, wrote Holifield a letter enclosing a form for filing the present § 2255

motion. She stated that she should have negotiated a binding plea agreement for a

specific sentence and that she should have negotiated a plea agreement under

which Holifield did not waive his appeal rights. She further stated that it was not

clear that Holifield would qualify as a career offender, as the plea agreement

stipulated. Moreover, she stated that she had been ineffective at sentencing in

failing to adequately explain the circumstances of Holifield’s prior criminal


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history, in particular his two manslaughter convictions, as well as the reason he had

smuggled drugs into prison. She told Holifield that he could attach her letter to his

§ 2255 motion, which he did.

      To state a viable claim for relief under § 2255, a defendant must prove: (1)

that his sentence was “imposed in violation of the Constitution or laws of the

United States”; (2) that “the court was without jurisdiction to impose such

sentence”; or (3) that “the sentence was in excess of the maximum authorized by

law, or is otherwise subject to collateral attack.” 28 U.S.C. § 2255(a). The movant

bears the burden of proving grounds for a collateral attack by a preponderance of

the evidence. Miller v. United States, 261 F.2d 546, 547 (4th Cir. 1958).

      Criminal defendants have a Sixth Amendment right to effective legal

assistance. Strickland v. Washington, 466 U.S. 668, 687 (1984).           Ineffective

assistance claims, however, are not lightly granted — “[t]he benchmark for judging

any claim of ineffectiveness must be whether counsel’s conduct so undermined the

proper functioning of the adversarial process that the [proceeding] cannot be relied

on as having produced a just result.” Id. at 686. To that end, a defendant must

satisfy a two-prong analysis showing both that counsel’s performance fell below an

objective standard of reasonableness and that the defendant was prejudiced by

counsel’s alleged deficient performance. Id. at 687. To satisfy the prejudice prong

of Strickland, a defendant must show that there is a reasonable probability that, but


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for counsel’s unprofessional error, the outcome of the proceeding would have been

different. Id. at 694.

      Absent extraordinary circumstances, “allegations in a § 2255 motion that

directly contradict the petitioner’s sworn statements made during a properly

conducted Rule 11 colloquy are always palpably incredible and patently frivolous

or false.” United States v. Lemaster, 403 F.3d 216, 221 (4th Cir. 2005) (internal

quotation marks omitted). Holifield testified under oath at his change of plea

hearing that he understood he was waiving his right to appeal and that he

understood he could receive a sentence higher than the agreed-upon

recommendation of 102 months. Therefore, any failure of his counsel to advise

him of these points clearly did not prejudice him.

      Even had Holifield not agreed to waive his right to appeal, his direct appeal

based on Johnson would have been unsuccessful because, as the court of appeals

noted, Alabama manslaughter meets the definition of generic manslaughter set

forth in U.S. Sentencing Guidelines Manual (“USSG”) § 4B1.2(a)(2), which lists

voluntary manslaughter as a crime of violence for purposes of USSG § 4B1.1, the

career offender guideline. Moreover, as the court of appeals also noted, after

Holifield’s sentencing, the Supreme Court held in Beckles that the Sentencing

Guidelines are not subject to vagueness challenges. Therefore, any deficiency on




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the part of his counsel in negotiating a plea agreement that waived Holifield’s

appeal rights did not prejudice him.

      As to counsel’s alleged errors at sentencing, the circumstances surrounding

Holifield’s prior manslaughter convictions were set forth in the Presentence

Investigation Report (“PSR”), so I was aware of them and considered them when

deciding on Holifield’s sentence.      Furthermore, Holifield has produced no

evidence that his second manslaughter was in fact accidental, as he argues in his

motion.      The PSR also reported that Holifield claimed that gang members

threatened to harm him if he did not smuggle drugs into prison. I considered this

information as well. Counsel’s decision not to further explain these details in a

sentencing memorandum or orally at the sentencing hearing did not prejudice

Holifield.

      As I stated on the record at sentencing, I did not feel that the agreed-upon

recommended sentence met the factors I was required to consider. In particular, I

did not believe a 102-month sentence of incarceration would afford adequate

deterrence to the defendant’s future conduct or protect the public from further

crimes by the defendant. I noted that Holifield had a long and serious criminal

history that began at a young age. I found that he was “certainly a career criminal”

and concluded that a sentence at the high end of the guideline range was

appropriate. Sent. Hr’g. Tr. 9, ECF No. 82. Further explanation of Holifield’s


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crimes by his counsel would not have changed the sentence I issued.          Thus,

Holifield has failed to demonstrate prejudice as required by Strickland.

      For these reasons, the United States’ Motion to Dismiss will be granted and

the § 2255 motion will be dismissed. A separate final order will be entered

herewith.

                                              DATED: February 20, 2019

                                              /s/ James P. Jones
                                              United States District Judge




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